                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                            NORTHERN DIVISION - BAY CITY

IN RE:

         SEAN THOMAS DUNGEY,                                 Case No. 16-21600-dob
              Debtor.                                        Chapter 13 Proceeding
                                                             Hon. Daniel S. Opperman
_____________________________________/

               OPINION REGARDING APPLICATION FOR COMPENSATION
                     OF VEHICLE APPRAISER DAVE PILIPOVICH

         The Chapter 13 Trustee, Thomas McDonald, (“Trustee”) seeks authority to pay $200.00 to

Dave Pilipovich for the appraisal of a 2010 Dodge Ram owned by the Debtor, which is security for

obligations owed to Saginaw Medical Federal Credit Union (“Saginaw Medical”). The Trustee

employed Mr. Pilipovich because he believed it was necessary to have an expert opinion regarding

the value of the 2010 Dodge Ram as Saginaw Medical filed two Proofs of Claim indicating that the

2010 Dodge Ram was sufficient security for both loans. Saginaw Medical objects to the Application

for Compensation (“Application”) and indicates that had the Trustee contacted it prior to employing

Mr. Pilipovich, Saginaw Medical would have modified one of its claims. After reviewing the entire

record of this matter, while the Court notes that the position taken by Saginaw Medical is sound in

principle, the facts do not support this position and therefore the Court overrules the objection of

Saginaw Medical and approves the Application for Compensation of Mr. Pilipovich.

                                         Findings of Fact

         The Court makes the following findings of fact based on papers filed with the Court,

arguments in open court regarding the Application and the review of various hearings identified in

this Opinion regarding confirmation of the Debtor’s Plan.


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       The Debtor’s Chapter 13 proceeding has been challenging. The Debtor’s Chapter 13 Plan

filed on September 19, 2016, was objected to by the Trustee in part because of difficulties the Debtor

had with the Internal Revenue Service. Although the initial confirmation hearing was set for

October 27, 2016, the Trustee’s objections, as amended, required that the confirmation hearing be

adjourned to December 8, 2016. The confirmation hearing was adjourned again to February 9, 2017.

On January 23, 2017, Saginaw Medical filed a Motion for Relief from Stay because it claimed that

the plan payments were inadequate to adequately protect its interest. The Debtor timely responded

to the Motion for Relief from Stay, and the matter was set for hearing on February 23, 2017.

       In all versions of the Debtor’s Chapter 13 Plan, the Debtor valued the 2010 Dodge Ram at

the full amount that the Debtor believed he owed to Saginaw Medical. As Debtor’s counsel

subsequently explained through the confirmation hearing process, the Debtor believed that his

obligations to Saginaw Medical were “910" claims in that the obligation incurred by the Debtor to

Saginaw Medical was entered into within 910 days of the Debtor’s petition and therefore entitled

to priority under 11 U.S.C. § 1325(a)(9). In the Debtor’s eyes, since he needed to pay Saginaw

Medical in full, the value of the 2010 Dodge Ram was not relevant to him.

       The amounts owed to Saginaw Medical are evidenced by two notes attached to Proof of

Claim Nos. 7 and 8 filed with this Court. Claim No. 8 in the amount of $21,364.56 clearly set forth

the necessary documents supporting Saginaw Medical’s 910 status. Claim No. 7, however, was a

Visa credit card obligation that was cross-collateralized with other collateral securing other

obligations owed by the Debtor to Saginaw Medical. This claim, in the amount of $974.80 and not

entitled to Section 1325(a)(9) protection, came into focus in February, 2017.

       At the February 9, 2017 hearing regarding confirmation of the Debtor’s Amended Chapter


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13 Plan, the Trustee raised the issue of the value of the 2010 Dodge Ram. The Trustee’s review

indicated that the 2010 Dodge Ram was worth $13,657.00, significantly less than the $22,339.36

claimed by Saginaw Medical or the $23,280.00 provided for Saginaw Medical in the Debtor’s

Chapter 13 Plan. The issue of the value of 2010 Dodge Ram, however, was not the major issue at

the February 9, 2017, hearing. Instead, the Debtor still had issues regarding the best interests of

creditors test, as well as treatment of the tax obligations. Counsel for Saginaw Medical was

concerned as to the issue of insurance and whether adequate protection payments needed to be

increased, but since the Chapter 13 Plan was not ready to be confirmed on February 9, 2017, and the

Motion for Relief from Stay of Saginaw Medical was set for hearing for February 23, 2017,

confirmation was adjourned to February 23, 2017. Anyone who attended the February 9, 2017,

hearing knew that the Trustee had a question about the value of the 2010 Dodge Ram.

       The issue of the value of the 2010 Dodge Ram was clearly in focus at the February 23, 2017,

confirmation hearing. While the Debtor did not wish to be involved in any issue regarding the

cramdown of the Saginaw Medical obligation, the Trustee indicated that he believed the value of

the 2010 Dodge Ram was significantly less than the amount owed to Saginaw Medical as to Claim

No. 7. The proposed method to resolve this issue was to indicate in an order confirming plan that

Saginaw Medical’s two claims would be acknowledged, subject to the right of the Trustee to object

to the claim of Saginaw Medical. On repeated occasions on February 23, 2017, counsel for Saginaw

Medical indicated that he had no problem with the Trustee filing an objection to the claim of

Saginaw Medical. The confirmation issues were ultimately resolved by the parties presenting an

Order Confirming Plan acknowledging the position of Saginaw Medical, but allowing the Trustee

to object to Saginaw Medical’s claims.


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        In order to do so, the Trustee had to hire a professional to support the Trustee’s rough

estimate of the value of the 2010 Dodge Ram. To that end, the Trustee contacted Mr. Pilipovich,

obtained approval of the United States Trustee to employ Mr. Pilipovich, and then filed an Ex Parte

Application for Approval of Employment of Vehicle Appraiser Dave Pilipovich. This Ex Parte

Application for Approval was filed on March 3, 2017, and an Order Approving Employment of Mr.

Pilipovich was signed the same day. This procedure is common. The Trustee routinely hires Mr.

Pilipovich to give him an opinion about the value of cars that can be admitted as an expert’s opinion

at an evidentiary hearing. On April 10, 2017, the Trustee filed a Memorandum reporting the value

of the 2010 Dodge Ram as evaluated by Mr. Pilipovich and on April 11, 2017, the Trustee filed an

objection to Claim No. 7 of Saginaw Medical. Saginaw Medical did not contest the Trustee’s

objection, and the Court signed an Order Sustaining the Trustee’s objection on June 17, 2017.

        As for the instant Application for Compensation, there is no disagreement that Mr. Pilipovich

earned $200.00. Instead, Saginaw Medical argues that the vehicle appraisal was not necessary as

it would have agreed to relinquish its claim had the Trustee contacted Saginaw Medical’s counsel.

                                            Jurisdiction

        This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157, 28 U.S.C. § 1334,

and E.D. Mich. LR 83.50. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) (matters

concerning the administration of the estate) and (B) (allowance or disallowance of claims against

the estate).

                                              Analysis

        Saginaw Medical may indeed be correct that Mr. Pilipovich’s appraisal was unnecessary.

At the February 23, 2017, confirmation hearing, however, counsel for Saginaw Medical repeatedly

indicated that he had no problem with the Trustee filing an objection to the Proof of Claim of


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Saginaw Medical. In order to file a meaningful objection that avoids Rule 9011 sanctions, the

Trustee was required to retain a professional to give him an opinion as to the value of the 2010

Dodge Ram. The Trustee did exactly that. After receiving the appraisal report, the Trustee filed an

objection the next day, which Saginaw Medical did not contest.

       Saginaw Medical argues that the Trustee should have contacted Saginaw Medical’s counsel

one more time to confirm that Saginaw Medical would not withdraw the secured status of Claim No.

7. Given the position of Saginaw Medical’s counsel as late as the February 23, 2017, hearing when

the issue of the value of the 2010 Dodge Ram was in full focus, it strikes this Court as being

unnecessary for the Trustee to do so. There was no offer at this hearing that Saginaw Medical would

amend its claims or otherwise step away from its claims. Perhaps a better time for the respective

parties to discuss this matter would have been shortly after Mr. Pilipovich was approved as a vehicle

appraiser on March 3, 2017, as by that time Saginaw Medical would have had notice that the Trustee

intended to follow up on his stated course of action at the February 9 and February 23, 2017,

hearings. That said, contrary to arguments made by the Trustee on July 20, 2017, notice of the

Application for compensation was not circulated among creditors as this Application was entered

on an ex parte basis. The Order Approving Employment, however, was certainly made known to

Saginaw Medical’s counsel by virtue of the CM/ECF system in place.

       The positions staked out by Saginaw Medical at the February 23, 2017, confirmation hearing

leaves no doubt in this Court’s mind that Saginaw Medical knew that the Trustee would object to

its claim. Also, to object to this claim, Saginaw Medical would know that the Trustee would employ

Mr. Pilipovich as he has on numerous occasions in similar situations. If Saginaw Medical wanted

to avoid this cost, either a short discussion immediately after the February 23, 2017, confirmation

hearing or shortly after the Order Approving Employment of Mr. Pilipovich as a vehicle appraiser

would have been useful. Also, Saginaw Medical could have amended its claims to renounce its


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secured status and claim unsecured status instead. Since none of these possibilities occurred, the

Court overrules the objection of Saginaw Medical and approves the compensation of Mr. Pilipovich.




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       The Chapter 13 Trustee is directed to prepare an order consistent with this Opinion and the

presentment of order procedures of this Court.

Not for Publication


Signed on August 04, 2017




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